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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                   )
    In re:                                                         )     Chapter 11
                                                                   )
    YELLOW CORPORATION, et al.,1                                   )     Case No. 23-11069 (CTG)
                                                                   )
                             Debtors.                              )     (Joint Administered)
                                                                   )
                                                                   )

      NOTICE OF AGENDA FOR HEARING SCHEDULED ON OCTOBER 27, 2023 AT
    12:00 P.M. (PREVAILING EASTERN TIME), BEFORE THE HONORABLE CRAIG T.
        GOLDBLATT AT THE UNITED STATES BANKRUPTCY COURT FOR THE
        DISTRICT OF DELAWARE, LOCATED AT 824 NORTH MARKET STREET,
           3rd FLOOR, COURTROOM NO. 7, WILMINGTON, DELAWARE 19801


    This hearing will be conducted in-person. All parties, including witnesses, are expected to
      attend in person unless permitted to appear via Zoom. Participation at the in-person
     court proceeding using Zoom is allowed only in the following circumstances: (i) a party
    who files a responsive pleading intends to make only a limited argument; (ii) a party who
      has not submitted a pleading but is interested in observing the hearing; or (iii) other
       extenuating circumstances as determined by Judge Goldblatt. All participants over
               Zoom must register in advance. Please register by October 25, 2023,
                                        at 4:00 p.m. (EST).

                                              Registration Link:

    https://debuscourts.zoomgov.com/meeting/register/vJItduyrpjktGPrbGz4sPYRbjkG6p3MOeIc




UNCONTESTED MATTER:
1.           Motion of TSC Equipment Finance, LLC (A) to Compel Debtor YRC, Inc. to Assume or
             Reject Equipment Lease Covering Approximately 246 Wabash Duraplate Pup Trailers;
             (B) For Relief from the Automatic Stay Pursuant to 11 USC 362(d) to Permit Movant to
             Exercise Rights and Enforce Remedies Against Debtor YRC, Inc. with Respect to


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  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
principal place of business and the Debtors’ service address in these chapter 11 cases is: 10990 Roe Avenue,
Overland Park, Kansas 66211.



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        Equipment Lease and Trailers and (C) to Waive the 14 Day Stay of Enforcement
        Pursuant to FRBP 4001(a)(3) [Filed: 9/15/23] (Docket No. 576)

        Response Deadline: October 2, 2023 at 4:00 p.m. (ET) (extended for the Debtors until
        10/25/23 at 5:00 p.m. (ET)

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        A.        [Proposed] Order [Filed: 9/15/23] (Docket No. 576)

        Status: This matter will go forward.

MATTERS GOING FORWARD:

2.      Motion of Debtors for Entry of an Order (I) Approving Agency Agreement with Nations
        Capital, LLC, Ritchie Bros. Auctioneers (America) Inc., IronPlanet, Inc., Ritchie Bros.
        Auctioneers (Canada) Ltd. and IronPlanet Canada Ltd Effective as of October 16, 2023;
        (II) Authorizing the Sale of Rolling Stock Assets Free and Clear of Liens, Claims, Interests
        and Encumbrances; and (III) Granting Related Relief [Filed: 10/16/23] (Docket No. 852)

        Response Deadline: October 27, 2023 at 9:00 a.m. (ET)

        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        A.        [Proposed] Order (I) Approving Agency Agreement with Nations Capital, LLC,
                  Ritchie Bros. Auctioneers (America) Inc., IronPlanet, Inc., Ritchie Bros.
                  Auctioneers (Canada) Ltd. and IronPlanet Canada Ltd Effective as of October 16,
                  2023; (II) Authorizing the Sale of Rolling Stock Assets Free and Clear of Liens,
                  Claims, Interests and Encumbrances; and (III) Granting Related Relief [Filed:
                  10/16/23] (Docket No. 852, Exhibit A)

        B.        Motion of Debtors for Entry of an Order Shortening Notice of Debtors' Motion for
                  Entry of an Order (I) Approving Agency Agreement with Nations Capital, LLC,
                  Ritchie Bros. Auctioneers (America) Inc., IronPlanet, Inc., Ritchie Bros.
                  Auctioneers (Canada) Ltd. and IronPlanet Canada Ltd Effective as of October 16,
                  2023; (II) Authorizing the Sale of Rolling Stock Assets Free and Clear of Liens,
                  Claims, Interests and Encumbrances; and (III) Granting Related Relief [Filed:
                  10/16/23] (Docket No. 853)

                i.           [Signed] Order Shortening the Notice and Objection Period for the Debtors
                             Motion for Entry of an Order (I) Approving Agency Agreement with
                             Nations Capital, LLC, Ritchie Bros. Auctioneers (America) Inc.,
                             IronPlanet, Inc., Ritchie Bros. Auctioneers (Canada) Ltd. and IronPlanet
                             Canada Ltd Effective as of October 16, 2023; (II) Authorizing the Sale of

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                             Rolling Stock Assets Free and Clear of Liens, Claims, Interests and
                             Encumbrances; and (III) Granting Related Relief [Filed: 10/16/23] (Docket
                             No. 864)

        C.        Declaration of Cody Leung Kaldenberg in Support of Motion of Debtors for Entry
                  of an Order (I) Approving Agency Agreement with Nations Capital, LLC, Ritchie
                  Bros. Auctioneers (America) Inc., IronPlanet, Inc., Ritchie Bros. Auctioneers
                  (Canada) Ltd. and IronPlanet Canada Ltd Effective as of October 16, 2023; (II)
                  Authorizing the Sale of Rolling Stock Assets Free and Clear of Liens, Claims,
                  Interests and Encumbrances; and (III) Granting Related Relief [Filed: 10/16/23]
                  (Docket No. 855)

        D.        Declaration of Disinterestedness of Nations Capital LLC, Ritchie Bros.
                  Auctioneers (America) Inc., IronPlanet, Inc., Ritchie Bros. Auctioneers (Canada)
                  Ltd., and IronPlanet Canada Ltd. [Filed: 10/16/23] (Docket No. 856)

        E.        [Filed Under Seal] Motion of Debtors for Entry of an Order (I) Approving Agency
                  Agreement with Nations Capital, LLC, Ritchie Bros. Auctioneers (America) Inc.,
                  IronPlanet, Inc., Ritchie Bros. Auctioneers (Canada) Ltd. and IronPlanet Canada
                  Ltd Effective as of October 16, 2023; (II) Authorizing the Sale of Rolling Stock
                  Assets Free and Clear of Liens, Claims, Interests and Encumbrances; and (III)
                  Granting Related Relief [Filed: 10/17/23] (Docket No. 863)

                i.           Motion of Debtors for Entry of an Order Authorizing the Debtors to (I)
                             Redact and File Under Seal Certain Confidential Commercial Information
                             in Connection with the Debtors' Agency Agreement Motion and (II)
                             Granting Related Relief [Filed: 10/16/23] (Docket No. 854)

        F.        Notice of Hearing on Debtors' Motion for Entry of an Order (I) Approving Agency
                  Agreement with Nations Capital, LLC, Ritchie Bros. Auctioneers (America) Inc.,
                  IronPlanet, Inc., Ritchie Bros. Auctioneers (Canada) Ltd. and IronPlanet Canada
                  Ltd Effective as of October 16, 2023; (II) Authorizing the Sale of Rolling Stock
                  Assets Free and Clear of Liens, Claims, Interests and Encumbrances; and (III)
                  Granting Related Relief [Filed: 10/18/23] (Docket No. 865)

        Status: This matter will go forward.

3.      Motion of Debtors for Entry of an Order Authorizing the Debtors to (I) Redact and File
        Under Seal Certain Confidential Commercial Information in Connection with the Debtors'
        Agency Agreement Motion and (II) Granting Related Relief [Filed: 10/16/23] (Docket No.
        854)

        Response Deadline: None.




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        Responses Received: None as of the date of this Notice of Agenda.

        Related Documents:

        A.       [Proposed] Order Authorizing the Debtors to (I) Redact and File Under Seal Certain
                 Confidential Commercial Information in Connection with the Debtors' Agency
                 Agreement Motion and (II) Granting Related Relief [Filed: 10/16/23] (Docket No.
                 854, Exhibit A)

        B.       [Filed Under Seal] Motion of Debtors for Entry of an Order (I) Approving Agency
                 Agreement with Nations Capital, LLC, Ritchie Bros. Auctioneers (America) Inc.,
                 IronPlanet, Inc., Ritchie Bros. Auctioneers (Canada) Ltd. and IronPlanet Canada
                 Ltd Effective as of October 16, 2023; (II) Authorizing the Sale of Rolling Stock
                 Assets Free and Clear of Liens, Claims, Interests and Encumbrances; and (III)
                 Granting Related Relief [Filed: 10/17/23] (Docket No. 863)

        Status: This matter will go forward.

Dated: October 25, 2023
Wilmington, Delaware

/s/ Peter J. Keane
Laura Davis Jones (DE Bar No. 2436)              Patrick J. Nash Jr., P.C. (admitted pro hac vice)
Timothy P. Cairns (DE Bar No. 4228)              David Seligman, P.C. (admitted pro hac vice)
Peter J. Keane (DE Bar No. 5503)                 Whitney Fogelberg (admitted pro hac vice)
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                                                 Possession



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